                                  UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION (CLEVELAND)


In Re:                                             ) Chapter 13 Case No.: 17__ - 16967   JPS
                                                                                 _____ - ____
 ANGELA DUDLEY                                     )
                                                   ) Judge Jessica Price Smith
                                                           _______________________
                                                   )
                         Debtor(s).                )      Original Chapter 13 Plan
                                                   )  ✔ Modified Chapter 13 Plan, dated 11/29/2017
                                                                                             ______________
******************************************************************************************************
NOTICE OF SPECIAL PROVISIONS: (Check One)
  ✔   This plan DOES NOT include any provision deviating from the uniform plan in effect at the time of the filing of
      this case.
       This plan DOES contain special provisions that must be and are set forth in paragraph 11 below.


NOTICE OF DISCHARGE ELIGIBILITY
  The Debtor is eligible for discharge unless otherwise indicated below:
  ✔    Debtor is NOT eligible for discharge under 11 U.S.C §1328(f).
       Joint Debtor is NOT eligible for discharge under 11 U.S.C §1328(f).


ATTENTION CREDITORS AND PARTIES IN INTEREST
This plan sets forth how the Debtor or Debtors (“Debtor”) propose to pay claims. You should read this plan
carefully and discuss it with your attorney. Anyone who wishes to oppose any provision of this plan must file a
timely written objection with the court. This plan may be confirmed and become binding without further notice or
hearing unless a timely written objection is filed. Creditors must file a proof of claim with the court in order to
receive distributions under this plan.


1. PAYMENTS
                                                                                                        4,160.00
A. The Debtor shall make monthly payments to the Chapter 13 Trustee (“Trustee”) in the amount of $__________
per month (“Plan Payment”) for at least the duration of the applicable commitment period, unless all allowed claims
are paid in full in a shorter period of time.

B. (Check One)
      The applicable commitment period is 36 months.
  ✔   The applicable commitment period is 60 months.

C. Unless the court orders otherwise, the plan will not be considered complete until either (i) all allowed claims are
paid in full, or (ii) the plan has run for at least the applicable commitment period and at least the amount specified in
paragraph 7 has been paid to unsecured creditors.

D. Trustee may increase the Plan Payment during the term of the plan as necessary to reflect increases, if any, in
any conduit payments paid by the Trustee.




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2. DISTRIBUTIONS
A. After confirmation of this plan, funds available for distribution will be paid monthly by the Trustee in the following
order: (i) Trustee's authorized percentage fee and/or administrative expenses; (ii) attorney fees as allowed under
applicable rules and guidelines; (iii) conduit payments as provided for in paragraph 3(C); (iv) monthly payments as
provided for in paragraph 5(C); (v) monthly payments as provided for in paragraphs 3(A), 3(B), 4(A), 4(B) and 9; (vi)
monthly payments as provided for in paragraph 6; and (vii) general unsecured claims.

B. If the Trustee has received insufficient funds from the Debtor to make the conduit payment, the Trustee may
accumulate funds until sufficient funds are available for distribution of a full monthly payment. The Trustee may
distribute amounts different from the monthly payments specified in the plan if the Trustee determines such
deviation is appropriate or reasonably necessary for the administration of the plan.

C. Unless a claim objection is sustained, a motion to value collateral or to avoid a lien is granted, or the court
orders otherwise, distributions on account of claims in paragraphs 3(A), 3(C), 4(A), 5, 6, 7 and 9 will be based upon
the classification and amount stated in each claim holder's proof of claim rather than any classification or amount
stated in this plan. Conversely, distributions on account of claims in paragraphs 3(B), 4(B) and 4(C) will be based
upon the classification and amount stated in the plan rather than the classification and amount stated in the claim
holder's proof of claim. Unless otherwise set or mandated by statute, interest on all secured personal property
claims provided for in this plan shall be paid pursuant to paragraph 4(D).

3. CLAIMS SECURED BY REAL PROPERTY
A. Mortgage Arrearages and Real Estate Tax Arrearages (Paid per the Proof of Claim)
Trustee shall pay the monthly payment amount to allowed claims for mortgage arrearages and real estate tax
arrearages. Note: If the Trustee will not be making the continuing mortgage payments, the Debtor is responsible for
paying all post-petition mortgage payments that ordinarily come due beginning with the first payment due after the
filing of the case.

                                                                          Estimated             Monthly Payment
                                    Property                              Arrearage            on Arrearage Claim
Creditor                            Address                                 Claim               (Paid by Trustee)
Shellpoint Mortgage Servicing       23818 Rushmore Dr.                   $36,000.00                  $600.00
                                    Cleveland, OH 44143




B. Other Real Estate Claims (Paid per the Plan)
Trustee shall pay the monthly payment amount to creditors up to the amount and interest rate as specified below.
The portion of any allowed claim that exceeds the amount to be paid through the plan shall be treated as an
unsecured claim. Unless the court orders otherwise, upon confirmation, the amount, interest rate and monthly
payment specified below will be binding under 11 U.S.C §1327.

                                     Property                      Amount to be Paid      Interest    Monthly Payment
Creditor                             Address                       Through the Plan         Rate      (Paid by Trustee)
Nationstar Mortgage LLC aka          1206 E. 168th St.                $29,000.00           6.5%            $585.00
Mr. Cooper                           Cleveland, OH 44140
Wyndham Vacation Ownership           6277 Sea Harbor Drive              $1,000.00          6.5%             $20.00
                                     Orlando, FL 32819




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C. Conduit Payments
Trustee shall pay the regular monthly mortgage payments beginning with the first payment due after the filing of the
case (or the first payment due after the filing of a modified plan if the modified plan proposes to change the
treatment of a mortgage from “non-conduit” to “conduit”). Unless real estate taxes and insurance are included in the
mortgage payments to be paid by the Trustee pursuant to the Plan, the Debtor shall remain responsible for paying
those obligations as they become due. Note: If the Trustee is making the continuing monthly mortgage payments,
the mortgage creditor must also be listed in paragraph 3(A) above.

                                    Property                       Monthly Payment
Creditor                            Address                        (Paid by Trustee)
Shellpoint Mortgage Servicing       23818 Rushmore Dr.                 $1,347.71
LLC                                 Cleveland, OH 44143


4. CLAIMS SECURED BY PERSONAL PROPERTY
A. Secured Claims (Paid per the Proof of Claim)
Claims specified below are debts secured by a purchase money security interest in a vehicle acquired for the
personal use of the Debtor for which the debt was incurred within 910 days of filing the bankruptcy petition, or, if the
collateral for the debt is any other thing of value, the debt was incurred within one year of filing. Trustee shall pay
the following claims, with interest per paragraph 4(D), in equal monthly payments as specified below.

                                     Collateral                     Monthly Payment
Creditor                            Description                     (Paid by Trustee)
GM Financial                        2008 Land Rover Range                $500.00
                                    Rover


B. Other Secured Claims (Paid per the Plan)
Claims specified below are debts secured by personal property not provided for in paragraph 4(A) above. Trustee
shall pay the allowed claims up to the secured amount, with interest per paragraph 4(D), in equal monthly payments
as specified below. The portion of any allowed claim that exceeds the secured amount will be treated as an
unsecured claim. Unless the court orders otherwise, upon confirmation, the secured amount and monthly payment
specified below will be binding under 11 U.S.C. §1327.

                                     Collateral                         Secured         Monthly Payment
Creditor                            Description                         Amount          (Paid by Trustee)
Wells Fargo Dealer Services         2012 Jaguar XF                     $13,000.00            $255.00



C. Pre-confirmation Adequate Protection Payments (Paid per the Plan)
Trustee shall pay the monthly payment amount to creditors for pre-confirmation adequate protection as specified
below.

                                    Collateral                     Monthly Payment
Creditor                            Description                    (Paid by Trustee)




                                                          3

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D. Interest
The interest rate to be paid on all secured personal property claims provided for in this plan shall be the prime rate
plus a risk factor of 2.0%. The applicable prime rate shall be fixed for the life of this plan at the U.S. prime rate
shown in the Wall Street Journal for Money Rates as of the date of the entry of the confirmation order. Only
through separate order may a party-in-interest obtain court approval to apply a different interest rate. This provision
shall not alter interest rates set or mandated by statute.


5. DOMESTIC SUPPORT OBLIGATIONS (Paid per the Proof of Claim)
A. Debtor   does ✔ does not have domestic support obligations under 11 U.S.C. §101(14A).

B. Specify the holder(s) of any claims for domestic support obligations under 11 U.S.C. §1302(d) unless the holder
is a minor. If the holder of a claim is a minor, the name and address of the minor holder shall be disclosed to the
Trustee in a private document contemporaneously with the filing of this plan in compliance with 11 U.S.C. §112.

Holder Name                         Address




C. Trustee shall pay the monthly payment amount to creditors for domestic support obligation arrearages as
specified below. Debtor shall pay the holder(s) of non-arrearage claims for domestic support obligations as those
payments ordinarily come due unless otherwise specified in paragraph 11 - Special Provisions.

                                                                   Monthly Payment
                                    Creditor                      on Arrearage Claim
Creditor                            Address                        (Paid by Trustee)




6. OTHER PRIORITY CLAIMS (Paid per the Proof of Claim)
Trustee shall pay the monthly payment amount to creditors for allowed unsecured priority claims as specified below.

                                Monthly Payment
Creditor                        (Paid by Trustee)




7. GENERAL UNSECURED CLAIMS
                                                                     112,685.62 Trustee will pay to creditors with
Debtor estimates the total of the non-priority unsecured debt to be $__________.
                                                            8,788.03
allowed non-priority unsecured claims a pro-rata share of $__________         3
                                                                         or ___%,  whichever is greater. Trustee is
authorized to increase the amount paid to unsecured creditors in order to comply with paragraph 1 of this plan

8. PROPERTY TO BE SURRENDERED
A. Debtor surrenders the property described below and the creditor may file a claim for the deficiency, which will be
treated as a non-priority unsecured claim. Any unsecured deficiency claim must be filed by the bar date for claims
or allowed by separate order of the court.

Creditor                       Property Description




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9. EXECUTORY CONTRACTS AND UNEXPIRED LEASES (Pay per the Proof of Claim)
All executory contracts and unexpired leases are rejected except the following, which are assumed. Trustee shall
pay the monthly payment amount to allowed claims for executory contract arrearages and unexpired lease
arrearages as specified below. Debtor shall pay all post-petition payments that ordinarily come due.

                                                              Estimated              Monthly Payment
                                   Property                   Arrearage             on Arrearage Claim
Creditor                          Description                   Claim                (Paid by Trustee)
Wyndham Vacation                  Timeshare - 6277 Sea          $0.00                      $0.00
Ownership                         Harbor Drive, Orlando,
                                  FL 32819

10. OTHER PLAN PROVISIONS
A. Property of the estate shall revest in the Debtor      ✔ upon confirmation.      upon discharge, dismissal or
completion. If the Debtor has not made a designation, property of the estate shall revest in the Debtor upon
confirmation. Unless otherwise ordered, the Debtor shall remain in possession of all property of the estate during
the pendency of this case. All property in which the Debtor retains possession shall be insured by the Debtor.
Trustee shall have no responsibility to insure assets and shall have no liability for damage or loss relating to
property which is in the possession and control of the Debtor.

B. Notwithstanding the automatic stay, creditors and lessors provided for in paragraphs 3(A), 3(C), and 9 of this
plan may continue to mail customary notices or coupons to the Debtor.

C. Trustee shall pay any post-petition claim filed and allowed under §1305(a)(1).

D. The following co-debtor claims will be paid by the co-debtor outside the plan:

Creditor                      Property Description




                                                         5

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11. SPECIAL PROVISIONS
This plan shall include the provisions set forth in the boxed area below. Note: The provisions set forth below
will not be effective unless there is a check in the second notice box preceding paragraph 1 of this plan.
Further, these provisions should not contain a restatement of the Bankruptcy Code, Federal Rules of Bankruptcy
Procedures, Local Bankruptcy Rules or case law.

a. The Trustee shall not pay on the pre-petition mortgage arrearage owed to SHELLPOINT MORTGAGE
SERVICING, INC. for the claim on the real estate located at 23818 Rushmore Dr. Cleveland, OH 44143.
CREDITOR SHELLPOINT MORTGAGE SERVICING, INC. and Debtor entered into a Trial Payment Plan in which
Debtor remitted $2,063.76 for the months of May, June and July 2017. The Debtor has continued to make these
payments through the payment due for November 1st, 2017. Debtor's Counsel will work with Creditor and
Creditor's Counsel to ascertain the status of the permanent modification and intend to file a Motion to Approve
Permanent Modification, which will include direct reamoritization of the pre-petition arrearages into the modified
loan.

The Trustee shall disburse the December 1st, 2017 Contractual Mortgage Payment and all successive mmonthly
payments due through the Plan.


/s/Angela Dudley
DEBTOR                                                          DEBTOR

Date: December 1, 2017                                          /s/Whitney Kaster
                                                                ATTORNEY FOR DEBTOR




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